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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 21-CR-80178-KAM

  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  BRADLEY ALAN BRODER

         Defendant

  _____________________________/

                      DEFENDANT’S NOTICE OF RIGHT TO SILENCE
                                   AND COUNSEL


         Defendant, BRADLEY ALAN BRODER, through counsel, hereby invokes the rights to

  remain silent and to advice of counsel with respect to any and all interrogation, regardless of the

  subject matter. See McNeil v. Wisconsin, 111 S.Ct. 2204, 2212 (1992).

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true copy of the foregoing has been furnished by filing with
  CM/ECF to all counsel of record, on this 22nd day of November, 2021.


                                               Respectfully submitted,

                                               /s/ Valentin Rodriguez
                                               ___________________________
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